      Case 14-50333-gs         Doc 125    Entered 07/17/14 16:54:03         Page 1 of 5



 1   Timothy A. Lukas, Esq.
     Nevada Bar No. 4678
 2   Joseph G. Went, Esq.
     Nevada Bar No. 9220
 3   HOLLAND & HART LLP
     9555 Hillwood Drive, 2nd Floor
 4   Las Vegas, Nevada 89134
     Tel: (702) 669-4600
 5   Fax: (702) 669-4650
     Email: jgwent@hollandhart.com
 6
     Attorneys for John Beach, Trustee of the
 7   Beach Living Trust dated January 22, 1999
 8                              UNITED STATES BANKRUPTCY COURT
 9                                       DISTRICT OF NEVADA
10    In re:                                                   Case No.: BK-N-14-50333-btb
                                                               Chapter: 11
11    ANTHONY THOMAS and WENDI THOMAS
                                                               [Lead Case – Jointly Administered]
12
           Affects AT EMERALD, LLC                            Case No.: BK-N-14-50331-btb
13         Affects all Debtors                                Chapter: 11

14                                                             APPLICATION FOR HEARING ON
                                                               ORDER SHORTENING TIME
15                                                             REGARDING MOTION TO
                                                               COMPEL PRODUCTION OF
16                                                             REQUIRED KEY OR AUTHORIZE
                                                               DRILL OUT OF VAULT LOCK
17
                                                            Hearing Date: OST REQUESTED
18                                                             Hearing Time: OST REQUESTED
19                     John Beach (“Beach”), as trustee of the Beach Living Trust dated January 22,
20   1999 (the “Beach Trust”), by and through its attorneys of record, Holland & Hart LLP,
21   respectfully submits its application (the “Application”) requesting that the hearing on its Motion
22   to Compel Production of Required Key or Authorize Drill Out of Vault Lock (the “Motion”) be
23   set on order shortening time. This Application is made and based on the following points and
24   authorities, the Declaration Joseph G. Went, Esq. made in support hereof, and the pleadings and
25   papers on file.
26             ///
27             ///
28
                                                 Page 1 of 5
      Case 14-50333-gs        Doc 125     Entered 07/17/14 16:54:03         Page 2 of 5



 1          WHEREFORE, for the reasons set forth herein, Mr. Beach and the Beach Trust

 2   respectfully requests that the Court enter an order shortening time to (i) hear the Motion on an

 3   expedited basis; and (ii) grant such other and further relief as may be just and proper.

 4          Dated this 17th day of July, 2014.

 5                                         HOLLAND & HART LLP

 6                                                /s/ Joseph G. Went
 7                                         By:_______________________
                                              Timothy A. Lukas, Esq.
 8                                            Nevada Bar No. 4678
                                              Joseph G. Went, Esq.
 9                                            Nevada Bar No. 9220
                                              9555 Hillwood Drive, Second Floor
10                                            Las Vegas, Nevada, 89134
                                              Attorneys for John Beach, Trustee of the
11                                            Beach Living Trust dated January 22, 1999
12

13                       MEMORANDUM OF POINTS AND AUTHORITIES
14          This Application is based upon the following facts and circumstances.
15          1.      On or about January 17, 2013, Debtor executed that certain Promissory Note
16   Secured by Pledge and Security Agreement (the “Note”) whereby Debtor promised to pay to the
17   Beach Trust the original principal sum of $500,000.00, together with all accrued interest, fees,
18   and costs due thereunder.
19          2.      In order to secure the repayment of the Note, Debtor executed a Pledge and
20   Security Agreement (the “Security Agreement”) wherein the Debtor granted to the Beach Trust a
21   security interest in that certain 23 kilogram black schist stone including a green crystal beryl
22   (natural emerald) of approximately 22,500 carats, which stone is commonly known as the
23   “Thomas Emerald.”
24          3.      The Thomas Emerald is described on Debtor’s Schedule B on file herein.
25          4.      The Thomas Emerald constitutes property of the Debtor’s estate.
26          5.      The Beach Trust filed its UCC-1 Financing Statement with the Nevada Secretary
27   of State as Document Number 2014003009-2 on February 4, 2014.
28
                                                 Page 2 of 5
      Case 14-50333-gs       Doc 125      Entered 07/17/14 16:54:03       Page 3 of 5



 1          6.      The original maturity date of the Note was January 17, 2014.

 2          7.      Debtor defaulted under the terms of the Note by failing to pay the amounts due at

 3   maturity.

 4          8.      Debtor has not made any payments on the Note.

 5          9.      The Thomas Emerald is currently held at the Sarasota Vault, 640 South

 6   Washington Blvd., Suite 125, Sarasota, Florida, 34236 (“Sarasota Vault”).

 7          10.     On March 4, 2014, Debtor filed its voluntary chapter 11 petition herein (the

 8   “Petition Date”).

 9          11.     As of the Petition Date, the amount due under the terms of the Note was in excess

10   of $535,000.00.

11          12.     In its schedules and statements on file herein, Debtor alleges that the Thomas

12   Emerald is valued in excess of $200,000,000.00. See Dkt. 1-1 at p. 12.

13          13.     Debtor has not made any post-petition payment to the Beach Trust.

14          14.     On June 24, 2014, the Beach Trust obtained authority pursuant to FRBP 2004 to

15   examine the person most knowledgeable of the Sarasota Vault, including access to and

16   inspection of the Thomas Emerald. See Dkt. 93.

17          15.     The 2004 examination of the person most knowledgeable of the Sarasota Vault,

18   including access to and inspection of the Thomas Emerald, was originally scheduled to occur on

19   July 10, 2014. Id.

20          16.     On July 2, 2014, the Beach Trust received a letter from counsel for the Sarasota

21   Vault. The July 2, 2014 letter sets forth the following points:

22                  a.      Access to the subject box at the Sarasota Vault is controlled by a two-key

23   system, where one key is controlled by Debtor; and

24                  b.      Without the second key, the only way that the subject box could be opened

25   is for a locksmith to drill the locks and replace them at the conclusion of the examination, for a

26   fee of approximately $200.00. Id.

27          17.     On June 23, 2014, Debtor filed its Motion to Sell Assets Free and Clear of Liens

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                                                 Page 3 of 5
     Case 14-50333-gs        Doc 125     Entered 07/17/14 16:54:03       Page 4 of 5



 1   and Motion to File Purchase and Sale Agreement under Seal (the “Motion to Sell”). See Dkt.

 2   40.

 3          18.    The hearing on the Motion to Sell has been continued to July 21, 2014. See Dkt.

 4   114.

 5          19.    On July 3, 2014, counsel for the Beach Trust communicated with counsel for the

 6   Debtor on whether the Debtor planned to provide the second key to access the vault and inspect

 7   the Thomas Emerald.

 8          20.    To date, Debtor has not provided the necessary key to access the vault or

 9   indicated that Debtor would do so. Instead, Debtor’s counsel indicated that only after the Motion

10   to Sell is heard on July 21, 2014, would Debtor consider the request to provide the second key

11   necessary to open the vault and inspect the Thomas Emerald.

12          21.    On July 9, 2014, the Beach Trust filed a notice of continuing the examination of

13   the person most knowledgeable of the Sarasota Vault to August 5, 2014. See Dkt. 115.

14          22.    Concurrently herewith, the Beach Trust intends to further continue the

15   examination of the person most knowledgeable of the Sarasota Vault to August 12, 2014.

16          23.    For these reasons, the Beach Trust respectfully requests that this Court shorten the

17   time for hearing and allow the Motion to be heard prior to the planned Rule 2004 examination of

18   the person most knowledgeable of the Sarasota Vault.

19          Bankruptcy Rules 9006(c)(1) and (d) authorize a court to reduce the time for a hearing,

20   and a party to file an ex parte motion to shorten the time for a hearing. Bankruptcy Rule

21   9006(c)(1) provides in relevant part:
                   In General. Except as provided in paragraph (2) of this subdivision,
22                 when an act is required or allowed to be done at or within a specified
23                 time by these rules or by a notice given thereunder or by order of court,
                   the court for cause shown may in its discretion with or without motion
24                 or notice order the period reduced.

25

26   Fed. R. Bankr. P. 9006(c)(1). Courts have generally acknowledged that such expedited relief

27   does not violate due process rights, even if the motion to shorten time is made ex parte.

28   Bankruptcy Rule 9006(c)(1) (emphasis added). “Bankruptcy Rule 9006(c) permits the
                                         Page 4 of 5
     Case 14-50333-gs         Doc 125    Entered 07/17/14 16:54:03        Page 5 of 5



 1   bankruptcy court ‘for cause shown’ in its discretion, with or without motion or notice, to reduce

 2   the notice period, and ex parte motions for material reductions in the notice period are routinely

 3   granted by bankruptcy courts.” Hester v. NCNB Texas Nat’l Bank (In re Hester), 899 F.2d 361,

 4   364 n. 3 (5th Cir. 1990); see also 9 Collier on Bankruptcy 9006.07 (Lawrence P. King ed., 15th

 5   ed. 1995); In re Gledhill, 76 F.3d 1070 (10th Cir. 1996).

 6          Prior to filing the Motion, counsel for the Beach Trust consulted counsel for the Debtor

 7   as shown on the Attorney Information Sheet For Proposed Order Shortening Time, filed

 8   concurrently herewith and incorporated for all purposes herein by this reference, by contacting

 9   Debtor’s counsel and requesting consent.

10          WHEREFORE, the Beach Trust respectfully requests that the hearing for said Motion be

11   set on shortened time.

12          Dated this 17th day of July, 2014.

13                                        HOLLAND & HART LLP

14                                               /s/ Joseph G. Went
15                                        By:_______________________
                                             Timothy A. Lukas, Esq.
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